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THE MIDDLE DISTRICT ()F PENNSYLVANIA §§§Q§:D
HEKHH§§\§$URG, PA

WESLEY K. WYATT, ANNA
WYATT AND THE FINANCIAL
GREENHOUSE,

No. 1=Cv-03-726 _~ _q
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JUDGE SYLVIA RAMB()

Plaintiff
vs.
JEFFERSON PILOT, INC.
AMERICAN NATIONAL

(LEGACY) INC., AND LIFE USA

(ALLIANCE) INC. JURY TRIAL DEMANDED

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TERRANCE A. KEATING, )
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Defendants )

PLAINTIFF’S BRIEF IN OPPOSITION T 0 DEFENDANT
KEATING’ MOTION TO DISMISS THE COMPLAINT

I.) BACKGR()UND

A.) PROCEDURAL HISTORY

On or about April 30, 2003 the plaintiff filed their civil rights
complaint claiming lSt and 4th Amendment Violations pursuant to 42 U.S.C.

§1983. The defendants filed motion to dismiss or in the alternative a motion

 

for summary judgment This brief is in opposition to defendant Keating’

motion to dismiss the complaint

 

 

 

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B.) FACTUAL HISTORY

The plaintiffs’ Mr. Wyatt, Mrs. Wyatt and the (Financial Greenhouse)
consist of two adult’s individuals and a corporate entity. All of the plaintiffs
Were and are involved in selling insurance in the Comrnonwealth of
Pennsylvania and Were and are licensed to sell insurance in the
Commonwealth of Pennsylvania. See Complaint ‘“’s 6-8. On or about the
early 90’s the plaintiffs including Wesley Wyatt received a license to sell
insurance in the Commonwealth of Pennsylvania and at that time properly
made application and disclosed all relevant and important information See
Complaint H’s 12-13. On or about May 1999 the defendant Keating began
communication With a Pittsburgh television station Which had undertaken to
attack Wes Wyatt in a prolifrc barrage of expose’ type journalism. During
the communications With the Pittsburgh television station the defendant
Keating distorted and intentionally provided misleading information about
Mr. Wyatt and the Insurance Departments role in approving Wyatt’s earlier
application, intending to hurt him in his business and intending to destroy
his reputation, and also intending to unlawfully deprive Mr. Wyatt of his

license. See Complaint Ts 15 through l7. Keating also sought to collaterally

injure Anna Wyatt and the Financial Greenhouse as associates of Wyatt’s.

 

 

 

 

 

 

Subsequently the defendant Keating and others at the Pennsylvania
Insurance Department took action to remove Mr. Wyatt’s license under false
pretenses. See Complaint 11’518 through 21. During this period of time the
defendant Keating and other unknown officials at the Pennsylvania
Insurance Department and the insurance companies who persistently curry
favor with the insurance department like the insurance company defendants,
acted to deny licenses and business and the opportunity to lawfully earn a
living to all three of the plaintiffs See Complaint jl’s 21-22" The private
defendants not only revoked Mr. Wyatt’s license knowing that Mr. Wyatt
had lawlillly acquired a Pennsylvania license and had misled no one and had
done nothing wrong, and the private defendants Jefferson Pilot, American
National, Life USA all acted to support and assist the Pennsylvania
Insurance Department, and more specifically Mr. Keating in destroying the
business of Mr. Wyatt, Anna Wyatt, and The Financial Greenhouse all to
support Mr. Keating so the Insurance Department would look good on TV.

Mr. Wyatt took legal action to protect himself On or about April 30,
2001 the Commonwealth Court of Pennsylvania reversed the Insurance
Commissioner’s September 5, 2000 decision and restored Mr. Wyatt’s

license and his right to sell insurance. See Complaint 1124. Since that time

the Insurance Department has continuously notified the insurance

 

 

 

 

companies, the public, and others, of the Commissioners decision to revoke
l\/Ir. Wyatt’s license, but has intentionally avoided telling the truth ie. that
Mr. Wyatt’s license should have been restored, and that the lDepartment’s
September 5, 2000 decision was reversed All of this was done to bring harm
and injury to Mr. Wyatt and to appease the press. There was absolutely
nothing, at any time, that Anna Wyatt ever did, in anyway, that would ever
justify the arbitrary and capricious revocation of her lawfully held insurance
license. Yet the defendants all moved to destroy and deny Anna Wyatt her
right to sell insurance as a licensed insurance agent in the Commonwealth of
Pennsylvania and this misconduct extended to the Financial Greenhouse as
well.

The lawsuit was consequently filed when it was learned that the
Insurance Department refilsed to correct its records, and that it was obvious,
based upon the facts, that the private insurance companies were joining in
Mr. Keating’s desire to destroy, not only Wes Wyatt’s lawful right and
ability to do business as a licensed insurance agent in Pennsylvania, but that
Anna Wyatt and the Financial Greenhouse were being injured simply

because they knew Wesley K. Wyatt.

 

 

 

II.) ISSUES

l.) Are plaintiffs claims time-barred?

2.) Did plaintiff state a claim for 4th Amendment violations?

3.) Were plaintiffs’ tortuous interference with contractual relations
claims timely filed and was the defendant Keating immune from suit?

4.) Did the complaint allege constitutional claims by Anna Wyatt and
the Financial Greenhouse?

III.) ARGUMENT

l.) Are plaintiffs’ claims time-barred?

The defendant Keating argues that “Most” of plaintiffs civil rights
claims should have been brought more than 2 years prior to when plaintiffs
filed their complaint. Of course the defendant Keating doesn’t specify what
claim, the nature of the claims, what “Most” consists of, and as a result, this
argument is presented in an incomplete fashion and left hanging in space.
But more important, the defendants argument as to statute of limitations isn’t
valid nor is it supported by the law or the facts in this case. lt is admitted that
the statute of limitations for §1983 actions is 2 years because the federal
government adopts the personal injury limitations based upon the
jurisdiction in which the action is brought. But in this case the licenses of

Wes Wyatt was reinstated by virtue of a Commonwealth Court opinion on

 

 

 

April 30, 2001. The defendant Keating appears to be arguing that because
the license was revoked on September 5, 2000, by virtue of Mr. Keating’s
efforts, that the statute of limitations for these actions began to accrue at that
point. The defendant Keating’s arguments are spurious. No Federal court,
given the proper role of comity in our judicial system, would have
entertained a challenge to the suspension of Mr. Wyatt’s license, because he
had not exhausted his state remedies first. Parrott v. Taylor, 451 U.S. 527
(1981). Mr. Wyatt had no alternative but to exhaust his state remedies since
he had a post-deprivation remedy as a matter of state law, in the state
system, before he could turn to the federal system and seek relief from the
unlawful actions that Mr. Keating had taken. The bottom line is quite simple,
Mr. Wyatt filed his federal action within 2 years of when the Insurance
Department was reversed by the Commonwealth Court of Pennsylvania
triggering as per Parrotz‘, and Heck v. Humphrev, ll4 S.Ct. 2364 (1994). (It
is noteworthy that the insurance department didn’t appeal the decision of the
Commonwealth Court). It is also worthy of note that Anna Wyatt and the
Financial Greenhouse also suffered by virtue of Mr. Keating’s actions. The
harm and injuries they suffer continues until this very day, as does Mr.
Wyatt’s. In fact the insurance department continues to inform people that

Mr. Wyatt was charged a $1,000.00 fine and his license was revoked,

 

 

 

 

without telling them that this action was reversed by Commonwealth Court
and his license was reinstated.

2.) Did plaintiffs assert a malicious prosecution claim?

The defendant Keating argues that for purposes of the 4th Amendment,
and 42 U.S.C. §1983, that no “unlawful seizure” occurred as a consequence
of any legal proceeding The defendant Keating makes a two prong
argument l.) There was no unlawful seizure as a matter of law, 2.) Keating
says that, although it isn’t specifically idenitifed in the issues presented for
review, that even if an unlawful seizure had occurred, that Mr. Keating
enjoys “absolute immunity”. But either way, Mr. Keating’s argument is not
supportable

As to the alleged lack of unlawful seizure. The defendant Keating
cited to essentially two cases l.) Gallo v. City ofPhiladelphia l6l, F. 3d 217
(3*d cir. 1998) and Brismw v. Clevenger, 80 Fed. supp. 2“d 421 (M.D.Pa.
2000). Both of the cases cited by Mr. Keating are erroneously applied in this
case and/or are misstated to as to their contents. As to liisz‘o_w v. Clevenger.
This was plaintiffs counsels’ case. The case cited contained dictum based
upon a misinterpretation of the facts by the trial judge in that case (the
Honorable Sylvia Rambo). Regardless Bristow v. Clevenger, was settled.

There Was a follow-on Brz`stow v. Clevenger case in which the district court

 

 

 

made similar errors it made in the Bristow v. Clevenger cited at 80 F.an 421

 

and that case ended up being appealed to the Third Circuit Court of Appeals.
Plaintiff s counsel won a reversal in that case. The case came back and it
was settled..

As to _Ga_llo the defendant Keating is in error as to his interpretation of
that case. See attached hereto, a recent Third Circuit Court opinion, in quyv_
v. Fam‘as@ et al. and in particular see pages 10-11 of the Third Circuit
opinion. Mr. Wyatt most certainly did suffer an unlawful seizure for
purposes of the 4th Amendment and the law of 42 U.S.C. §1983 as per M.

The other issue raised by Mr. Keating is one of immunity. Mr.
Keating clearly isn’t entitled to immunity since he intentionally started and
conducted the investigative action on his own, knowing that the information
he had provided to the Pittsburgh TV station was false, and that the license
revocation was unfounded Furthermore, Mr. Keating initiated the action in
order to injure Mr. Wyatt, knowing that the representations that he made
regarding Mr. Wyatt’s license application disclosures were false. Mr.
Keating therefore doesn’t even qualify as a prosecutor, per se, since he was
in effect an investigator acting as an affiant, ie. a complaining witness. Last,
the law cited by Mr. Keating doesn’t support his contention of an entitlement

to immunity from liability under §1983 based on either absolute or qualified

 

 

 

immunity Again, Mr. Keating didn’t merely initiate the prosecution, or
prepare the case, or present it before a tribunal. What Mr. Keating did was
intentionally provide misleading information, conduct a phony review of the
facts and then bring a complaint and recommend an unlawful response
which the Commission followed. He was the individual who spoke with the
reporter in Pittsburgh, and he was the individual who took steps to create a
false fact scenario so that Mr. Wyatt’s license could be taken. As such he
was not acting as a prosecutor. He was acting as a police officer or
investigator In that type of role, that specifically denies him immunity as

per Burns v. Reed 500 U.S. 478 (1991). The defendant Keating

 

misunderstands the language “initiate legal proceedings” or “initiate a
prosecution”. That reference is made to the administrative process, not to the
investigative aspect or acting as a complaining witness as Keating did in this
case. By way of further response the plaintiff Wyatt has been able to
procure a video tape which demonstrates clearly that Mr. Keating
intentionally misled the TV stations in Pittsburgh, then in order to cover his
tracks, turned around and made a false charge against Mr. Wyatt knowing
that it was incorrect and that there was an absence of probable cause. For

this reason Mr. Keating can’t claim qualified immunity.

 

 

 

3.) Plaintiff’s tortuous interference with contractual relationships
claims shouldn’t be dismissed as time-barred for the reasons cited at number
2 above. Mr. Keating isn’t immune from suit. Mr. Keating again argues that
the statue of limitations bars claims for intentional interference with
contractional relationships To begin with, the allegations of intentional
inference with contractional relationships begins on or about September 5 ,
2000 when the Pennsylvania Insurance Department issued the order taking
Mr. Wyatt’s license and fining him. The period of injury then extends
through to the present. Neither of the private defendants, nor Mr. Keating, or
for that matter, the Insurance Department has ever acknowledged or
responded to numerous notifications that the Commissioner, of Pennsylvania
was reversed by Commonwealth Court on April 30, 2001. The tortuous
interference with contracts is a continuing violation and continues to this
day. Furthermore, when these violations occurred within the two year period
of time since September 5, 2000 until April 30, 2001 when l\/lr. Wyatt won
reversal of the Insurance Commissioners decision should be subject to the
principals of equitable tolling alone. Mr. Wyatt would have been barred
from pursuing any of the defendants based upon the obvious effect of
collateral proceedings that were in effect by virtue of his response to the

wrongs he suffered. His right to bring a contractual relations interference

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claim didn’t accrue until April 30, 2001. He couldn’t have pursued a state
court claim for interference with contractual relationship even if he had tried
in light of the license suspension he was under at the time. By operation of
law he wouldn’t have had jurisdiction to bring the interference claim
because he was, in the eyes of the government, without any jurisdictional
basis to do so. Not having a license, he couldn’t claim, according to the state
that his contractual relationships with the private entities could have been
interfered with, because, as a matter of law, he would have no contract to be
violated. Mr. Keating’s argument is baseless because it would have been
jurisdictionally impossible for Mr. Wyatt to have brought any action based
upon his insurance license when the state had indicated that he didn’t have
that right. The defendant Keating then makes an argument based on
sovereign immunity (plaintiff assumes Mr. Keating also meant to include
governmental or official immunity).

Regardless, the defense isn’t available to Mr. Keating for a very
simple reason, he was not acting within the scope of his employment when
he intentionally misled the TV station and when he intentionally misused

and misapplied the contents of Mr. Wyatt’s file in order to have the

Insurance Commissioner take Mr. Wyatt’s license.

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ln short, Mr. Keating isn’t entitled to immunity in this case because he
wasn’t acting within the scope of his employment

4.) Did the complaint allege constitutional claims by Anna Wyatt and
the Financial Greenhouse?

Does the complaint allege violations of the rights of Anna Wyatt and
The Financial Greenhouse? l\/lr. Keating argues that the claims of Anna
Wyatt and The Financial Greenhouse should be dismissed because neither
Anna nor the Financial Greenhouse, according to, Keating pled any
constitutional violations Mr. Keating is clearly in error. Anna Wyatt and
The Financial Greenhouse allege that she was intentionally injured as a
direct consequence of, her association with Mr. Wes Wyatt. And the private
defendants, acting with Keating refused to allow Anna to sell insurance
products and did the same with the Financial Greenhouse. Thus Anna is
claiming that she was injured by Mr. Keating, (intentionally) and the private
party defendants, who conspired to destroy the business of Wes Wyatt. Now
it is admitted that the defendants perceived Wes Wyatt as the alter ego and
the person who controlled the business of the Financial Greenhouse, and
Anna Wyatt. While that is not correct, and while the defendants had no
actual reason to react in that regard that is what they did. Consequently Anna

Wyatt, as stated in the Complaint suffered deprivation of her rights.

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WHEREFORE the motion by defendant Keating to dismiss the

Complaint is hereby DENIED:

Respectfully Submitted,

    

Don Bailey Esquire

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4311 N. 6th street

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luly 25, 2003

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CERTIFICATE OF SERVICE
l, Don Bailey do hereby certify that on this JULY 25, 2003 l served a true and
correct copy of PLAINTIFF’S BRIEF IN OPPOSITIUN T 0 DEFENDANT
KEA TINGS MUTION T 0 DISMISS THE CUMPLAINT to the attorney below by First
class-postage prepaid mail:

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